 

Case: 1:15-cv-05963 Document #: 56 Filed: 08/26/15 Page 1 of 2 Page|D #:28553 CC j

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P\\)U\ 2 6 lms United States District Court
S’A ;L;T§ON For the Norrhem l)iscrict of lllinois
.“,\ON\AS ?S'_\,\§`\C-\' (_`,O\)\?:r Eastern Division
Oakley, Inc. Case No. lS-cv-05963
vs.
Judge Gary Feinerman
Yiyi, et al

Notice of Removal of Material
From the Custody of the Clerk's Off“lce
The following item(s) was hereby removed from the custody of the Clerk's Office by the

undersigned, who is representing: Oakley, Inc..

Describe:
Filed 7/17/2015: Document No. 37 - Surety Bond in the amount of $10,()00.00 posted by

Oakley, Inc.

I, Joe Juettner , am th rized to remove the above described document(s) from the court.

Signature: ‘ Firm: Greer, Burns & Crain, Ltd.

 

 

By: C. Chambers Date: 8/26/2015
Deputy Clerk

 

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August 26, 2015

VlA HAND DEL|VERY

Finance Department

U.S. District Court

Northern District of |||inois
219 s. Dearbom st., 20‘h Flr.
Chicago, |L 60604

Re: Oak|ey, |nc. v. Zhang Yiyi, et a|.
U.S. District Court Northern District of |||inois
Case No.: 15-cv-5963
Our Reference: 5459.121033

Dear Sir:

P|ease release a bond in the amount of $10,000 to the custody of Joseph Juettner.
The bond is being returned in accordance With Judge Feinerman’s August 20, 2015
order (DE #53)_

Very truly yours,

GREER, BURNS & CRA|N, LTD.

 

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Justin R. Gaudio
Direct 312-987-2922 | jgaudio@gbc|aw.net

JRo:jvj

